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    PJR/tab                    Code No. 141                  File No. 5574-24804

                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

    LISA SCANDORA,                                           )
                                       Plaintiff,            )
                                                             )
              vs.                                            ) 05 C 1206
                                                             ) Judge Kendall
    VILLAGE OF MELROSE PARK, and                             ) Magistrate Shenkier
    VITO R. SCAVO, Individually,                             )
                                Defendants.                  )

       DEFENDANTS VILLAGE OF MELROSE PARK and VITO SCAVO’S
        RESPONSE TO PLAINTIFF’S MOTION FOR LEAVE TO FILE HER
       RESPONSE TO FILE HER RESPONSE TO DEFENDANTS’ MOTION
                FOR SUMMARY JUDGMENT, INSTANTER

              NOW COME the Defendants, THE VILLAGE OF MELROSE PARK and

    VITO SCAVO, by their attorneys, DOWD & DOWD, LTD., and in response to

    Plaintiff’s motion for leave to file her response to Defendants’ summary judgment

    motions, state as follows:

        1.          Defendants’ summary judgment motions were timely filed on March

                    16, 2007. Plaintiff’s response was to be filed on or before April 13,

                    2007. Plaintiff was granted an extension up to and including April 20,

                    2007 and Defendants’ reply was to be filed on or before May 4, 2007.

        2.          As the court knows, Plaintiff did not meet the April 20, 2007 deadline

                    and did not file her response until the late evening hours of April 23,

                    2007.   Defense counsel did not receive a copy of the response until

                    April 24, 2007.

        3.          The undersigned is scheduled to attend an employment law seminar in

                    Scottsdale, Arizona between May 2, and May 4, 2007.              Defense
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               counsel had hoped that the response would be filed on the 20th so he

               would at least have the weekend of April 21-22, 2007 to work on the

               reply.

        4.     While the defendants do not object to Plaintiff’s motion, the fact

               remains that it is simply impossible for defense counsel to file reply

               memoranda on or before May 4, 2007. Between April 25 and April 27,

               2007, the undersigned is scheduled to take 4 depositions, one of which

               is a doctor’s evidence deposition set to proceed in Lincolnshire,

               Illinois. As a result, it wil be virtually impossible for Defendants to file

               their replies on or before May 4, 2007.

             WHEREFORE, the defendants, VILLAGE OF MELROSE PARK and

    VITO SCAVO, pray that this court extend the reply deadline to May 11, 2007.



                                                  DOWD & DOWD, LTD.


                                          By:     Patrick J. Ruberry________________
                                                  Attorney for Defendants,
                                                  VILLAGE OF MELROSE PARK
                                                  and VITO SCAVO
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                                     CERTIFICATE OF SERVICE

        I, an attorney, state Defendants’ response to Plaintiff’s motion for leave to file her

    response was served electronically to all law firms of record via ECF on April 25, 2007.



                                                       By:     /s/ Patrick J. Ruberry ________
                                                               Attorney for Defendants

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